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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:                                                             Chapter 11

ALEXA & ROGER INC,                                                 Case No. 23-44441 (JMM)

                                      Debtor.

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         ORDER DEEMING LEASE OF NON-RESIDENTIAL REAL PROPERTY
            BY AND BETWEEN THE DEBTOR AND GROWTH MINDSET
                    LEARNING LAB, LLC TO BE REJECTED

         Upon the application of Fairbridge Strategic Capital LLC f/k/a Realfi Strategic Cap LLC

(“Fairbridge”), secured creditor and proponent of Fairbridge’s Chapter 11 Plan for Alexa & Roger

Inc., dated July 2, 2024 [ECF Doc #48], seeking the entry of an order deeming a lease of non-

residential real property between Alexa & Roger Inc., the debtor in this confirmed Chapter 11 case

(the “Debtor”), as lessor, and Growth Mindset Learning Lab, LLC, as tenant, to be rejected, and

(ii) granting Fairbridge such other and further relief as may be just and proper (the “Motion”); and

no objections to the Motion having been filed; and notice of the Motion having been given as

provided in the Motion; and such notice having been adequate and appropriate under the

circumstances; and it appearing that no other or further notice need be provided; and a hearing

having been held on December 18, 2024; and good and sufficient cause appearing therefor, it is

hereby

         ORDERED, that the Lease is hereby rejected, effective as of April 1, 2024; and it is further

         ORDERED, that notwithstanding Bankruptcy Rule 6004 or otherwise, this Order shall be

effective and enforceable immediately upon entry and its provisions shall be self-executing; and it

is further;



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       ORDERED, that the Plan Proponent is hereby authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order; and it is further

       ORDERED, that this Court may retain jurisdiction to hear and determine all matters

arising from or related to the implementation or interpretation of this Order.




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